                                                                   CLERK'S OFFICE U.S.DiSX O URT
                                                                          AT ROM OKE,VA
                                                                                FILED

                  IN THE UNITED STATESDISTRICT COURT                      FEB 13 2219
                 FO R TH E W ESTERN D ISTRICT O F W R GIN IA JUL. . ux ux cv e
                         H ARRISON BU RG D W ISION          BK    .
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UN ITE D STATES O r AM R RICA            )
                                         )
V.                                       )        Case N o.5:03c:70006-009
                                         )
JOSE BRETON -PICH ARD O,                 )        By: M ichaelF.U rbansld
                                         )        ChiefUnited StatesDistrictJudge
      D efendant.                        )
                            M E M O M N D U M O PIN IO N

      DefendantJose Breton-pichardo flled an emergency motion to zeduce his sentence
pursuantto the FirstStep A ctof2018,Pub.L.N o.115-015. H e asks thathis sentence be

reduced to from 262 m onthsto 188 m onthswhich willtesultin hisim m ediate zelease,to be

followed by folzryeatsofsupervised release.ECF N o.650.The governm entdoesnotcontest

thatBreton-pichatdo iseligible forconsidetadon ofareducdon in hissentenceand agreesthat

heisenétled to im m ediatereleaseto befollowed byfotzryearsofsupervised release.ECF N o.

654.N eitherpartyrequested ahearing.Fozthereasonssetfortlabelow,thecourtwillGRAN T

Breton-pichardo's request and m odify his sentence to 188 m onths,butnot less than tim e

sew ed,to be follow ed by a fout-yeartet.
                                        m ofsupervised release.

                                             1.

      O nM ay29,2003,pursuantto awritten pleaagreem ent,Breton-pichardo pleadedPZiI:)r

to one countofpossession with intentto distribute m oze than 50 gram sofcocaine base,in

violadonof21U.S.C.jj846and841$)(1)(A).PSR,ECF Nos.652at1and653at1.The
accountablecltazg weightwas336.6 gram sofcocnine base,buthisgaidelinesw ete dete= ined

based upon the cateer offender guideline,U.S.S.G.j 4BI.I.ECF No.652 at9,13.That


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gtzideline provided a range of 262-327 m onths of imprisonm ent fot offenses wheze the

m axim llm sentence islife im prisonm entand the defendantreceives creditfor acceptance of

responsibility. ECF N o.652 at19. O n N ovem ber 14,2003 Breton-pichardo wassentenced

to 262 m onthsim prisonm entand an 8-yea.
                                        tterm ofsupervised release. ECF N o.100 at2-3.

Breton-pichardo'scurrentrelease dateisAugust23,2021.ECF N o.650 at2.

      AtthetimeBreton-pichardo wassentenced,aviolation ofj841(b)(1)(A)carried a
m andatorynainim um sentenceof10 yearsand am axim ppm oflifeimprisonm entiftheoffense

itw olved m ore than 50 gram s of cocaine base,and a penalty tange of 5 to 40 yearsif the

offenseinvolvedmozethan5gramsofcocainebase.21U.S.C.j841(b)(1)(A)and(B)(2006).
In 2010,the FaitSentencing A ctwasenacted,and Section 2 ofthe actteduced penaldes for

offensesinvolving cocainebasebyincreasing thethreshold cltnlg quantitiesrequited to ttigger

mandatoryminimum sentencesunder21U.S.C.j841q$(1).FairSentencingActof2010, .
Pub.L.No.111-220,j2,124Stat.2372 (2010).Currently,in orderto ttiggerthelo-years-to-
life-sentencing range,the offense m ustinvolve m ore than 280 gzam sofcocninebase,and to

ttigger the 5-to-40-year sentencing range,the offense m ustinvolve m ore than 28 gzam s of

cocaine base.

       The FitstStep Actwasenacted on D ecem ber21,'2018. Secdon 404 oftheactpet-m its

acoutt,upon m oéon ofthedefendantorthegovetnm ent,orupon itsown m odon,to im pose

ateduced sentence forcertain offensesin accordancewith theFairSentencing Actof2010,if

such areducdon w asnotpreviously granted. O ffenses qualify forthereducéon ifthey were

com m itted before August3,2010 and carry the stataztory penaldeswllich were m odihed by




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secdon 2 or 3 ofthe Fair Sentencing A ctof2010. FitstStep A ctof2018,Pub.L.N o.115-

015,132Stat.015(2018).
                                           II.

      The parties agree that the First Step A ct applies to Breton-pichardo. Because the

inicted drug quandty was50 gram sofcocaine base,ifthe FairSentencing A cthad been in

effectin 2007,Bzeton-pichardo w ould have faced a m avimum term of40 yeazstather than

lifeim prisonm ent. In turn,thatm axim um sentencewould have resulted in an offense level

of31 rather than 34 underthe career offendergaideline.W ith a crim inalhistorycategory of

V1, the corresponding advisory range for offense level 31 is 188 to 235 m onths of

im prisonm ent.In addiéon,his m andatozy m inim pzm sentence w ould have been 60 m onths

ratherthan 120 m onths.

      H ad Bteton-pichardo been sentenced after passage ofthe Fait Sentencing Act,the

appzopdate sentence would havebeen 188 m onths,followed by a 4-yea.
                                                                  rterm ofsupervised

release.Thus,the parties agtee thatan appropriate sentence foz Breton-pichardo underthe

FitstStep A ctw ould be 188m onths,followed by a4-yearterm ofsuperdsed release.Because

Pichardo hassew ed approxim ately 197 m onths,thepardesagreethathissentence should be

m odiûed to tim e served.l Breton-pichardo hasnotpteviously m oved fora reduced sentence




1Breton-picardo initially argued thathe should receiveffbanked tim e''forthetim e he spent
in custody overthe 188-m onth m odifed sentence.ECF N o.654. H e hassince withdzawn
thatrequestbecausehe hasan im m igtation detainerand willm ostlikely bedeported,m aking
any argum entaboutfçbanked tim e''unnecessary.
                                             3



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pursuantto theFitstStep A ctof2018 and has notpreviously had laissentencereduced asif

theFaizSentencing A ctof2010 applied in hiscase.

                                         111.

      The courtwillGR AN T Breton-pichardo'sem ergency m oéon to reduce hissentence,

ECF N o.650,and m odify hissentence to a totalperiod of188 m onths,butnotlessthan

tim eserved,to be follow ed by a four-yeatterm ofsuperdsed release.The couttfm dsthe

sentence agteed to by thepatéesissufikient,butnotgreaterthan necessary,and accounts

forthesentencing factorsthecotutmustconsiderpuzsuantto 18U.S.C.j3553/),
specifically deterrence,protecdon ofthepublic,and respectfor thelaw.

      An appropriateOzderandamended judgmentwillbeentered.
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